 Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 1 of 65




  Order on Plaintiffs'
Motion for Sanctions for
 Discovery Misconduct

    Redacted Version of
Document Sought to be Sealed
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 2 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 3 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 4 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 5 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 6 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 7 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 8 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 9 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 10 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 11 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 12 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 13 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 14 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 15 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 16 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 17 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 18 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 19 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 20 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 21 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 22 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 23 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 24 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 25 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 26 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 27 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 28 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 29 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 30 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 31 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 32 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 33 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 34 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 35 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 36 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 37 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 38 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 39 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 40 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 41 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 42 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 43 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 44 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 45 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 46 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 47 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 48 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 49 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 50 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 51 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 52 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 53 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 54 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 55 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 56 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 57 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 58 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 59 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 60 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 61 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 62 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 63 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 64 of 65
Case 4:20-cv-05146-YGR Document 871-3 Filed 09/19/22 Page 65 of 65
